                  IN THE UNITED STATES DISTRICT
                COURT FOR THE NORTHERN DISTRICT
                  OF GEORGIA ATLANTA DIVISION

 UNITED STATES OF AMERICA,                )
     Plaintiff,                           )     CRIMINAL ACTION NO.
                                          )
 V.                                       )     1:17-CR-00224-AT-CMS
                                          )
                                          )
 ALLEN J. PENDERGRASS,                    )
     Defendant.                           )
                                          )

             MOTION TO MODIFY BOND CONDITIONS

      Mr. Pendergrass was indicted on June 26, 2017, and was on pretrial

release beginning on August 9, 2017. (Docs 1, 21). On December 8, 2021, this

Court modified his conditions of pretrial release to include location

monitoring and travel restrictions while he awaited sentencing in this case.

(Doc. 260). Upon his sentencing on August 26, 2022, this Court allowed Mr.

Pendergrass to remain on pretrial release until he was designated to a BOP

facility to serve his 46-month sentence. (Doc. 289). However, this Court

subsequently granted Mr. Pendergrass’s motion for bond pending appeal,

and he remains on release pursuant to that order. (Doc. 323).

      Mr. Pendergrass now requests that the Court modify the conditions of

his release to remove the location monitoring.       Mr. Pendergrass has
maintained compliance while on location monitoring for nearly one year.

Recently, his doctor has recommended that he participate in certain

therapies, including aquatic exercises, to address issues with his back and

legs. However, Mr. Pendergrass is unable to participate in any water-based

therapy while wearing an ankle monitor.         Removal of the location

monitoring conditions would allow Mr. Pendergrass to participate in this

doctor-recommended therapy.       Counsel has conferred with Probation

Officer Krystal Batchelor and AUSA Tracia King, and neither objects to this

request.

     WHEREFORE, Allen Pendergrass respectfully requests that this Court

modify his conditions of release to remove the location monitoring

requirement.

     Respectfully submitted this 15th day of November, 2022.

                                         /s/ Sydney R. Strickland
                                         Sydney R. Strickland
                                         Ga. Bar No. 418591
                                         Attorney for Allen Pendergrass


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